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Attorneys for Defendant
Principal Life Insurance Company

                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO


D IA N E P A GE ,                                       )
                                                        ) C au se N o.1:15-cv-569-B L W
       P laintiff,                                      )
                                                        )
-vs-                                                    )
                                                        )   STIPULATION OF DISMISSAL
P RIN C IP A L L IFE IN SURA N C E C O M P A N Y ,      )         PURSUANT TO RULE
an Iowacorporation,                                     )              41(a)(1)(A)(ii)
                                                        )
       D efend ant.                                     )
                                                        )




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         P u rsu antto Ru le 41(a)(1)(A )(ii),the parties hereto stipu late thatP laintiff D iane P age

(“P laintiff”
            ) hereby withd raws and d ismisses with preju d ice her claims against D efend ant

P rincipalL ife Insu rance C ompany.The parties fu rtherstipu late thateach party shallbearits/her

own attorneys’fees and costs incu rred in this action.

         D ated this 25th d ay of A pril,20 16



                                                 B y:/s/ Daniel Page (with consent)
                                                        D anielP age
                                                                A ttorney forP laintiff



                                                 W IL SO N E L SE R M O SKO W ITZ E D E L M A N &
                                                 D IC KE R L L P

                                                 B y:   /s/ Edna S. Kersting________________
                                                        E d naS.Kersting
                                                               A ttorneys forD efend ant




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              Case 1:15-cv-00569-BLW Document 18 Filed 04/25/16 Page 3 of 3



                                 CERTIFICATE OF SERVICE

         The u nd ersigned ,an attorney,certifies thaton A pril25.20 16,atru e and correctcopy of

the above and foregoingplead ingwas served viaelectronic mail,on the person(s)listed below:

Attorney for Plaintiff
D anielP age
665 SW N u ggetSt.
M ou ntain H ome,ID 8 3647


                                             ___/s/ Edna S. Kersting__________________
                                                    E d naS.Kersting




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